     Case 6:18-ap-01193-SY         Doc 37 Filed 01/02/20 Entered 01/02/20 08:55:08           Desc
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     Attorneys for Defendant Nicholas Silao
 6
 7                             UNITED STATES BANKRUPTCY COURT
 8
                               CENTRAL DISTRICT OF CALIFORNIA
 9
                                       RIVERSIDE DIVISION
10
11
      In re                                           Case No. 6:17-bk-19336-SY
12
      PANDORA HOSPICE CARE, INC.,                     Adv. 6:18-ap-01193-SY
13
                     Debtor.                          Before the Honorable Scott H. Yun
14
      KARL T. ANDERSON, CHAPTER 7                     Chapter 7
15    TRUSTEE,
16                                                    VOLUNTARY WITHDRAWAL OF THE
                     Plaintiffs,                      NOTICE OF LODGMENT AND
17                                                    [PROPOSED] ORDER REGARDING
      v.
                                                      PROPOSED JOINT STIPULATION IN
18                                                    CONNECTION WITH DEFENDANT'S
      NICHOLAS SILAO,
19                                                    MOTION TO ALLOW WITHDRAWAL OF
                     Defendant                        DEEMED ADMISSIONS F.R.C.P. 36(B) AT
20                                                    DOCKET #36

21
                                                      Date: 1-23-2020
22
                                                      Time: 9:30 am
23                                                    Courtroom 302
                                                      Place: 3420 Twelfth Street, Riverside CA
24
25            NICHOLAS SILAO, Defendant in the above-captioned adversary proceeding, by and
26   through his undersigned attorney, hereby files this VOLUNTARY WITHDRAWAL OF THE
27
     NOTICE OF LODGMENT AND [PROPOSED] ORDER REGARDING PROPOSED
28

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 1   JOINT STIPULATION IN CONNECTION WITH DEFENDANT'S MOTION TO
 2   ALLOW WITHDRAWAL OF DEEMED ADMISSIONS F.R.C.P. 36(B) AT DOCKET
 3
     #36.
 4
      DATED:    January 2, 2020          LAW OFFICE OF BARUCH C. COHEN
 5                                       A Professional Law Corporation
 6                                        /s/ Baruch C. Cohen
 7                                        Baruch C. Cohen, Esq.
                                          Attorneys for Defendant Nicholas Silao
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        Case 6:18-ap-01193-SY                      Doc 37 Filed 01/02/20 Entered 01/02/20 08:55:08                                     Desc
                                                    Main Document    Page 3 of 3



                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:

                                  4929 Wilshire Boulevard, Suite 940, Los Angeles, California 90010.

A true and correct copy of the foregoing document entitled: VOLUNTARY WITHDRAWAL OF NOTICE OF LODGMENT
AND [PROPOSED] ORDER REGARDING PROPOSED JOINT STIPULATION IN CONNECTION WITH DEFENDANT'S
MOTION TO ALLOW WITHDRAWAL OF DEEMED ADMISSIONS F.R.C.P. § 36(B) will be served or was served (a) on
the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On 1/2/2020,
I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the following
persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

Baruch C Cohen                bcc@BaruchCohenEsq.com, paralegal@baruchcohenesq.com
Karl T Anderson (TR)          2edansie@gmail.com, kanderson@ecf.axosfs.com
Thomas J Polis (PL)           tom@polis-law.com, paralegal@polis-law.com; r59042@notify.bestcase.com
US Trustee (RS)               ustpregion16.rs.ecf@usdoj.gov


                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL: On 1/2/2020, I served the following persons and/or entities at the last known
addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed
envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.




                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on 1/2/2020,, I served the following
persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to such service
method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration that personal
delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is filed.

Hon. Scott H. Yun, USBC, Central District of California, 3420 Twelfth Street, Suite 345, Riverside CA 92501




                                                                                            Service information continued on attached page


I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 1/2/2020                       Baruch C. Cohen, Esq.                                           /s/ Baruch C. Cohen
 Date                           Printed Name                                                    Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
